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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

Free Speech For The People,                          )
                                                     )
                                                     )
                              Plaintiff,             ) Case No.: 1:19-cv-01722 (APM)
                                                     )
              v.                                     )
                                                     )
                                                     )
Federal Election Commission,                         )
                                                     )
                                                     )
                              Defendant.             )
                                                     )


             MOTION FOR ADMISSION OF JESSICA KIM PRO HAC VICE

        Pursuant to Civil Local Rule 83.2(d), I, S. Douglas Bunch, a member of the bar of

this Court, respectfully move for the admission pro hac vice of Ji Eun (“Jessica”) Kim to

appear on behalf of Plaintiff Free Speech For People in the above-captioned case.

        In support of this motion, Ms. Kim provides her declaration, attached as Exhibit A.

As set forth in her declaration, she is in good standing of the bar and courts of the State of

New York, the U.S. District Court for the Southern District of New York, and the U.S.

District Court for the Eastern District of New York.

Dated: September 27, 2019                  Respectfully Submitted,

                                           /s/ S. Douglas Bunch
                                           S. Douglas Bunch (D.D.C Bar # 974054)
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